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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                               West Palm Beach Division
                                www.flsb.uscourts.gov


In re:                                                  Case No. 10-41156-PGH

R. BRADFORD ENGELHARDT                                  Chapter 11

     Debtor.
__________________________/


DEBTOR R. BRADFORD ENGELHARDT’S AMENDED PLAN OF REORGANIZATION

                                        ARTICLE I
                                        SUMMARY

         This Plan of Reorganization (the “Plan”) under Chapter 11 of the Bankruptcy

Code (the “Code”) proposed by Debtor R. BRADFORD ENGELHARDT (the “Debtor”)

proposes to pay creditors of the bankruptcy estate (the “Estate”) from future income

derived from the Debtor’s twenty rental properties.

         This Plan provides for twenty-seven classes of claims and interests. The first

class consists of unimpaired claims secured by real property taxes; the second class

consists of an unimpaired claim secured by personal property; the third through twenty-

first classes consist of impaired claims secured by real property; the twenty-second

through twenty-fifth classes consist of unimpaired claims secured by real property; the

twenty-sixth class consists of claims of general unsecured creditors, which will be paid a

pro rata share of $10,000.00; and the twenty-seventh class consists of the interests of

the equity holder; i.e., the Debtor.      This Plan also provides for the payment of

administrative claims; specifically, the payment of attorney’s fees of Debtor’s counsel.

         All creditors should refer to Articles III through IV of this Plan for information

regarding the precise treatment of their claim(s). A Disclosure Statement that provides
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information in greater detail regarding this Plan and the rights of creditors has been

circulated with this Plan.



                                   ARTICLE II
                    CLASSIFICATION OF CLAIMS AND INTERESTS


2.01   Class 1               Creditors Secured by Real Property Taxes - Unimpaired
2.02   Class 2               Creditor Secured by Personal Property - Unimpaired
2.03   Classes 3-21          Creditors Secured by Real Property - Impaired
2.04   Classes 22-25         Creditors Secured by Real Property - Unimpaired
2.05   Class 26              General Unsecured Creditors - Impaired
2.06   Class 27              Interests of the Equity Holder



                                    ARTICLE III
                  TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                   U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS


3.01   Unclassified Claims. Under §1123(a)(1), administrative expense claims and priority

tax claims are not in classes.

3.02   Administrative Expense Claims. Each holder of an administrative expense claim

allowed under §503 of the Code, which shall include 100% of the allowed fees and costs

approved by this court in favor of Shapiro, Blasi, Wasserman & Gora, P.A. (“SBWG”), will

be paid in full on the Effective Date of this Plan (as defined in Article VII, infra). The

amount to be paid to SBWG is estimated at $32,000.00

3.03   Priority Tax Claims. Each holder of a priority tax claim will be paid 100% of its

claim on the Effective Date. The Debtor owes the following priority tax claims:

                             NONE.

3.04   United States Trustee Fees. All fees required to be paid pursuant to 28 U.S.C. §

1930(a)(6) (“U.S. Trustee Fees”) will accrue and be timely paid until the Debtor’s case is
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closed, dismissed, or converted to another chapter of the Code. Any U.S. Trustee Fees

owed on or before the Effective Date will be paid in full on the Effective Date.

      With respect to pre-confirmation periods , the Debtor is required to pay the

appropriate sum required pursuant to Section 1930(a)(6) within 10 days of the entry of the

order confirming the Amended Plan. The Debtor must also file all monthly operating

reports for the relevant periods indicating the cash disbursements for the relevant period.

      With respect to post-confirmation periods, the Reorganized Debtor will pay the

United States Trustee fee for post-confirmation periods based upon all post-confirmation

disbursements made by the Reorganized Debtor. The Reorganized Debtor will also file all

post-confirmation quarterly operating reports with the Court until the earlier of the closing

of the case or upon dismissal or conversion of the case.


                               ARTICLE IV
            TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

4.01 Claims and interests shall be treated as follows under the Plan:

Class 1: Creditors Secured by Real Property Taxes - Unimpaired

       Class 1 consists of tax claims secured by real property. All Class 1 creditors,

pursuant to 11 U.S.C § 1124, are unimpaired as the Plan leaves unaltered the legal,

equitable, and contractual rights of such claimants, and therefore, pursuant to 11 U.S.C

§ 1126(f), Class 1 creditors are conclusively presumed to accept the Plan. All Class 1

allowed claims will be paid in full on the Effective Date.


Class 2: Creditor Secured by Personal Property – Unimpaired

       Class 2 consists of the claim of one creditor, Ford Motor Credit Company, LLC,
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secured by a 2008 Ford Explorer. The Class 2 claim is unimpaired as the Debtor is

making payments under the original contract terms.        The Debtor is current on the

payments to the Class 2 creditor. Pursuant to 11 U.S.C § 1126(f), the Class 2 creditor is

conclusively presumed to accept the Plan.

Classes 3-21: Creditors Secured by Real Property - Impaired

       Classes 3 through 21 consist of claims secured by rental properties owned by the

Debtor. Such claims will be paid directly to creditors outside the Plan. Allowed claims of

class 3 through 21 creditors have been determined by court orders corresponding to the

Debtor’s Motions to Value Pursuant to 11 U.S.C. §506(b), with the exception of Class 21,

which is the Debtor’s principal residence. The Debtor will be responsible for the payments

of property taxes and insurance on each property.

   •   Class 3: Everhome Mortgage Company Servicer for Wilmington Trust Company

          o Property: 63 Lake Arbor Drive, Palm Springs, FL 33461

          o Payment of claim representing $68,000.00 over 360 months at an interest

              rate of 5.25%. Monthly Payment: $375.50

          o The Debtor shall be responsible for payment of his own real estate taxes

              and for hazard insurance on the subject property in accordance with the

              terms of the loan documents.

   •   Class 4: Cenlar, FSB

          o Property: 91 Lake Arbor Drive, Palm Springs, Florida 33461

          o   Payment of claim representing $68,000.00 over 360 months at an interest

              rate of 5.25%. Monthly Payment: $375.50

   •   Class 5: BAC Home Loans Servicing, LP
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       o   Property: 120 Lake Arbor Drive, Palm Springs, Florida 33461

       o Claimant has filed an 1111(b)(2) election [DE#239].

       o Payment of claim #10 representing a stream of cash payments with a face

           value $176,986.30 and which have a present value of at least the value of

           the collateral, which is $68,000.00. Payments will be made over a period of

           360 months.

       o Monthly Payment: $491.63

•   Class 6: BAC Home Loans Servicing, LP

       o Property: 132 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $68,000.00 over 360 months at an interest

           rate of 5.25%. Monthly Payment: $375.50

•   Class 7: Wells Fargo

       o Property: 152 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $76,224.98 over 360 months at an interest

           rate of 5.25%. Monthly Payment: $420.92.

       o The Debtor shall be responsible for payment of his own real estate taxes

           and for hazard insurance on the subject property in accordance with the

           terms of the loan documents.

•   Class 8: Wells Fargo

       o Property: 157 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $68,000.00 over 360 months at an interest

           rate of 5.25%. Monthly Payment: $375.50

•   Class 9: Wells Fargo
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       o Property: 159 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $70,500.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $389.30

•   Class10: Cenlar, FSB

       o Property: 165 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $68,000.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $375.50

•   Class 11: BAC Home Loan Servicing, LP

       o Property: 215 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $65,000.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $375.50

•   Class 12: BAC Home Loans Servicing, LP

       o Property: 252 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $68,000.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $375.50

•   Class 13: BAC Home Loans Servicing, LP

       o Property: 256 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $68,000.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $375.50

•   Class 14: Wells Fargo

       o Property: 276 Arabian Rd., Palm Springs, Florida 33461

       o Payment of claim representing $69,500.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $383.78
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•   Class 15: Citimortgage, Inc.

       o Property: 310 Lake Arbor Drive, Palm Springs, Florida 33461

       o 1st mortgage

       o Value of property=$68,000.00

       o Mortgagee has a secured claim in the amount of $15,574.38, payable over

          360 months at an interest rate of 5.25%. Monthly Payment: $86.00

•   Class 16: New York Community Bank

       o Property: 310 Lake Arbor Drive, Palm Springs, Florida 33461

       o 2nd Mortgage

       o Mortgagee has a secured claim in the amount of $53,000.00 payable over

          360 months at an interest rate of 5.25%. Monthly Payment: $375.50

•   Class 17: Chase Home Finance, LLC

       o Property: 337 Lake Arbor Drive, Palm Springs, FL 33461

       o Payment of claim representing $69,500.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $383.78

•   Class 18: Cenlar, FSB

       o Property: 354 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $65,000.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $358.93

•   Class 19: Ocwen Loan Servicing, LLC

       o Property: 363 Lake Arbor Drive, Palm Springs, Florida 33461

       o Payment of claim representing $68,000.00 over 360 months at an interest

          rate of 5.25%. Monthly Payment: $375.50
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   •   Class 20: New York Community Bank

          o Property: 7660 Nemec Drive, Palm Springs, FL 33461

                    This property is the Debtor’s homestead.

          o 2nd mortgage

          o Payment of claim representing $63,885.23 over 360 months at an interest

              rate of 5.25%.

          o Starting on the Effective Date, the Debtor will make monthly payments of

              $352.78 for 30 years.

   •   Class 21: America’s Servicing Center, inc.

          o Property: 7660 Nemec Drive, Palm Springs, FL 33461

                    This property is the Debtor’s principal residence.

          o   1st mortgage

          o Payment of claim representing approximately $240,000.00.

          o The Debtor currently making, and will continue to make, payments according

              to the original prepetition contract terms.

          o In addition, there is an arrearage in the amount of $18,589.36, which the

              Debtor will pay over the course of 60 months, beginning on the Effective

              Date, in the amount of $309.82.


Classes 22-25: Creditors Secured by Real Property - Unimpaired

   Classes 22 through 25 consist of claims secured by rental properties owned by the

Debtor. Such claims will be paid directly to creditors outside the Plan. All creditors in

classes 22 through 25, pursuant to 11 U.S.C § 1124, are unimpaired as the Plan leaves
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unaltered the legal, equitable, and contractual rights of such claimants, and therefore,

pursuant to 11 U.S.C § 1126(f), creditors in classes 22 through 25 are conclusively

presumed to accept the Plan.

   •   Class 22: America’s Servicing Center, Inc.

          o Property: 35 Lake Arbor Drive, Palm Springs, FL

          o Monthly Payment: $885.05

          o The Debtor will make payments according to the original prepetition contract

             terms.

   •   Class 23: America’s Servicing Center, Inc.

          o Property: 119 Lake Arbor Drive, Palm Springs, FL

          o Monthly Payment: $947.76

          o The Debtor will make payments according to the original prepetition contract

             terms.

   •   Class 24: America’s Servicing Center, Inc.

          o Property: 246 Lake Arbor Drive, Palm Springs, FL

          o Monthly Payment: $871.88

          o The Debtor will make payments according to the original prepetition contract

             terms.

   •   Class 25: America’s Servicing Center, Inc.

          o 369 Lake Arbor Drive, Palm Springs, FL

          o Monthly Payment: $780.26

          o The Debtor will make payments according to the original prepetition contract

             terms.
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Class 26: General Unsecured Claims - Impaired

        Class 26 consists of all allowed unsecured general claims. General unsecured

claims are not secured by property of the estate and are not entitled to priority under

§507(a) of the Code. Class 26 creditors shall share pro rata in a total distribution in the

amount of $10,000.00 (the “Plan Payments”), which shall be paid in full on the Effective

Date.



Class 27: Equity Interest Holders

        Class 27 consists of the Debtor’s equity interests in assets of the estate, which are

retained under this Plan. The Debtor has committed the value of 5 years of his projected

net disposable income toward funding the Plan, and has otherwise met all of the

requirements under the Bankruptcy Code. Class 27 is presumed to accept the Plan.


                                 ARTICLE V
                    ALLOWANCE AND DISALLOWANCE OF CLAIMS

5.01          Disputed Claim. A disputed claim is a claim that has not been allowed or

disallowed by a final non-appealable order, and as to which either: (i) a proof of claim has

been filed or deemed filed and the Debtor or another party in interest has filed an

objection; or (ii) no proof of claim has been filed, and the Debtor has scheduled such claim

as disputed, contingent, or unliquidated.

5.02          Delay of Distribution on a Disputed Claim. No distribution will be made on

account of a disputed claim unless such claim is allowed by a final non-appealable order.
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5.03          Settlement of Disputed Claims. The Debtor will have the power and authority

to settle and compromise a disputed claim with court approval and compliance with Rule

9019 of the Federal Rules of Bankruptcy Procedure.


                              ARTICLE VI
       PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES


       6.01   Assumed Executory Contracts and Unexpired Leases.

              (a)   The Debtor will assume the following unexpired leases upon the

Effective Date:

                    (i) Unexpired leases with the Debtor’s tenants. See attached Exhibit

                    “A” for a list of tenants and rental terms.

              (b)   The Debtor will be conclusively deemed to have rejected all executory

contracts and/or unexpired leases not expressly assumed under section 6.01(a) above, or

before the date of the order confirming this Plan, upon the date of the entry of the order

confirming this Plan. A proof of a claim arising from the rejection of an executory contract

or     unexpired     lease      under      this      section       must    be       filed   by

_____________________________.



                                    ARTICLE VII
                                GENERAL PROVISIONS


       7.01   Definitions and Rules of Construction. The definitions and rules of

construction set forth in §§101 and 102 of the Code shall apply when terms defined or

construed in the Code are used in this Plan.
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       7.02   Effective Date of Plan. The Effective Date of this Plan is the eleventh

business day following the date of the entry of the order of confirmation; however, if a stay

of the confirmation order is in effect on that date, the Effective Date will be the first

business day after that date on which no stay of the confirmation order is in effect,

provided that the confirmation order has not been vacated.

       7.03   Severability. If any provision in this Plan is determined to be unenforceable,

the determination will in no way limit or affect the enforceability and operative effect of any

other provision of this Plan.

       7.04   Binding Effect. The rights and obligations of any entity named or referred to

in this Plan will be binding upon, and will inure to the benefit of, the successors or assigns

of such entity.

       7.05   Captions. The headings contained in this Plan are for convenience of

reference only and do not affect the meaning or interpretation of this Plan.

       7.06   Controlling Effect. Unless a rule of law or procedure is supplied by federal

law (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the

State of Florida govern this Plan and any agreements, documents, and instruments

executed in connection with this Plan, except as otherwise provided in this Plan.


                                      ARTICLE VIII
                                 DISCHARGE OF DEBTOR


       Confirmation of this Plan does not discharge any debt provided for in the Plan until

the Court grants a discharge upon completion of all payments under the Plan, or as

otherwise provided for in § 1141(d)(5) of the Code. The Debtor will not be discharged
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from any debt excepted from discharge under § 523 of the Code except as provided for in

Bankruptcy Rule 4007(c).

       The Debtor will make a one-time, pro-rata distribution to all Class 26 creditors, and

will pay all Class 1 claims and administrative expenses (i.e., attorney’s fees) in full, on or

before the Effective Date.

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                    Respectfully submitted,

                    DEBTOR IN POSSESSION
                    R. BRADFORD ENGELHARDT



                    By: ______________________________

                        R. Bradford Engelhardt




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                    By:/s/ Aaron A. Wernick
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                       EXHIBIT A
                    Unexpired Leases
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                                RENT ROLL



363 Lake Arbor Drive                     Tenants:        Audy Anna Mammarello
Palm Beach, FL 33461                                     $1000.00 monthly


310 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Calvin and Jennifer Simpson
                                                         $1000.00 monthly

91 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Carlos and Alejandra Murua
                                                         $1000.00 monthly

252 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Christine and Douglas
                                                         McClure
                                                         $1000.00 monthly

119 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Dalily and Osvaldo De La
                                                         Cruz
                                                         $1000.00 monthly

165 Arbor Lake Drive
Palm Beach, FL 33461                     Tenants:        Delores McIntyne
                                                         $1000.00 monthly

337 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Desiree Bader and Ryan
                                                         Cordovez
                                                         $1000.00 monthly

132 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Dorothy Scott
                                                         $1000.00 monthly
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157 Lake Arbor Drive
Palm Beach, FL 33461                      Tenants:        Ernesto Nov and Angela
                                                          Delsanto
                                                          $1000.00 monthly

215 Lake Arbor Drive
Palm Beach, FL 33461                      Tenants:        Jaime and Zainy Clavigo
                                                          $1000.00 monthly


63 Lake Arbor Drive
Palm Beach, FL 33461                      Tenants:        Jeff L. Jeuno
                                                          $1000.00 monthly


152 Lake Arbor Drive
Palm Beach, FL 33461                      Tenants:        Kellea Vardy and Kelly
                                                          J. Neeman
                                                          $1000.00 monthly


256 Lake Arbor Drive
Palm Beach, FL 33461                      Tenants:        Leutoida and Rohan
                                                          Williams
                                                          $1000.00 monthly

246 Lake Arbor Drive
Palm Beach, FL 33461                      Tenants:        Lyliam Correa
                                                          $1000.00 monthly


35 Lake Arbor Drive
Palm Beach, FL 33461                      Tenants:        Marianne Cook
                                                          $1000.00 monthly


120 Lake Arvor Drive
Palm Beach, FL 33461                      Tenants:        Martha M. and William
                                                          Vasquez
                                                          $1000.00 monthly

276 Arabian Rd.
Palm Beach, Fl 33461                      Tenants:        Melinda Driggers
                                                          $1000.00 monthly
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369 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Shannon Lee and Robert
                                                         Peterson
                                                         $1000.00 monthly


354 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Shawn Garder and Theodore
                                                         Salvucci
                                                         $1000.00 monthly

159 Lake Arbor Drive
Palm Beach, FL 33461                     Tenants:        Victor Atucen and Gelsel
                                                         Grellcab
                                                         $1000.00 monthly
